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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

CHRIS JACOBS,

         Plaintiff,
                                                     Case No. 20-cv-981-bbc
    v.

MARATHON COUNTY CLERK OF
COURT AND STATE PUBLIC
DEFENDERS’ OFFICE,

         Defendants.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case without prejudice.




               /s/                                             11/9/2020
         Peter Oppeneer, Clerk of Court                        Date
